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                           UNITED STATES BANKRUPTCY COURT
                                             Southern District of Georgia

In re:                                                                               Case No.: 18−11784−SDB
Antoinette M. Harris
       Debtor                                                                        Judge: Susan D. Barrett
                                                                                     Chapter: 13
                              NOTICE OF MODIFICATION OF PLAN BEFORE CONFIRMATION


On March 6, 2019 , the above−captioned Debtor filed a modification of the plan, a copy of which will be sent to you by the debtor
in a separate mailing.

Pursuant to 11 U.S.C. § 1323(c), "[a]ny holder of a secured claim that has accepted or rejected the plan is deemed to have
accepted or rejected, as the case may be, the plan as modified, unless the modification provides for a change in the rights of
such holder from what such rights were under the plan before modification, and such holder changes such holder's previous
acceptance or rejection."

                           THE HEARING ON CONFIRMATION IS ASSIGNED/REASSIGNED FOR:

                                               April 29, 2019 , at 10:30 AM
                 Federal Justice Center, Plaza Bldg, 600 James Brown Blvd (9th St), Augusta, GA 30901

At the confirmation hearing the Court will conduct a hearing on the modified plan and any motions included therein. Objections
to the modified plan and to any motions included in the modified plan shall be filed seven days prior to the hearing date shown
above, pursuant to Fed. R. Bankr. P. 3015(f).



                                                                                 Lucinda Rauback, CLERK
                                                                                 United States Bankruptcy Court
                                                                                 Federal Justice Center
                                                                                 600 James Brown Blvd
                                                                                 P.O. Box 1487
                                                                                 Augusta, GA 30903

Dated March 13, 2019




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